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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MARYLAND
                                             OFFICE OF THE CLERK



Catherine M. Stavlas, Clerk                                                                      Reply to Southern Division Address
David E. Ciambruschini, Chief Deputy

                                                       April 7, 2025
                                                                                                     8:25−cv−00951−PX
                                                                                          Abrego Garcia et al v. Noem et al


Dear Counsel,

The Clerk received your Motion for Admission Pro Hac Vice for Courtney C. Whang.
Upon reviewing the motion, we noticed the signature of the attorney(s) checked below was
incorrect:

[ ] Movant
[x] Proposed admittee
Signatures of attorneys must either be handwritten or meet the requirements in the
"signature" section of our civil procedures manual. (You may go to our website at
www.mdd.uscourts.gov to access the manual.)
To file a revised motion without paying the fee a second time, please do the following:
      1. Go to the Court's website at www.mdd.uscourts.gov
         to obtain the Motion for Admission Pro Hac Vice form.
      2. Prepare the motion with all required information.
      3. Refile the motion using the event, "Pro Hac Vice − Corrected."
When the new motion is received, it will be reviewed and a ruling will be issued. In the
meantime, the existing motion will be terminated and marked "Filed in error."

                                                                                       Very truly yours,
                                                                                                  /s/
                                                                                       Catherine M. Stavlas
                                                                                       Clerk, U.S. District Court
                                                                                       District of Maryland
                                                                                       prepared by: Marlowe Hill

      Northern Division º 4415 U.S. Courthouse º 101 W. Lombard Street º Baltimore, Maryland 21201 º 410−962−2600
      Southern Division º 240 U.S. Courthouse º 6500 Cherrywood Lane º Greenbelt, Maryland 20770 º 301−344−0660
                                    Visit the U.S. District Court's Web Site at www.mdd.uscourts.gov
